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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                )
                                         )
                 Plaintiff / Respondent, )
                                         )
      v.                                 )              Case No. 09-20133-06-JWL
                                         )              Case No. 12-2400-JWL
MECHIEEN McDOWELL,                       )
                                         )
                 Defendant / Petitioner. )
                                         )
_______________________________________)


                         MEMORANDUM AND ORDER

       This matter is presently before the Court on defendant Mechieen McDowell’s pro

se petition to vacate her sentence pursuant to 28 U.S.C. § 2255 (Doc. # 1510) and the

Government’s motion for enforcement of defendant’s plea agreement (Doc. # 1516). For

the reasons set forth below, the Court grants the Government’s motion to enforce

defendant’s plea agreement, and defendant’s petition is therefore dismissed.



       I.     Background

       On March 21, 2011, defendant entered into a plea agreement and pleaded guilty

to one count of a conspiracy to commit money laundering in violation of 18 U.S.C. §

1956(h). In the plea agreement, defendant agreed that the parties would request that the

Court impose a sentence consistent with the sentencing guidelines, and defendant stated

that she understood that relevant conduct would be considered in the calculation of her
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guideline range. The Government agreed to recommend deductions from the base

offense level under the guidelines for acceptance of responsibility and to recommend a

sentence at the low end of the applicable guideline range. The plea agreement contained

the following waiver of defendant’s right to appeal or to collaterally attack her sentence:

              11.     Waiver of Appeal and Collateral Attack. The defendant
       knowingly and voluntarily waives any right to appeal or collaterally attack
       any matter in connection with this prosecution, the defendant’s conviction,
       or the components of the sentence to be imposed herein including the
       length and conditions of supervised release. The defendant is aware that
       Title 18, U.S.C. § 3742 affords a defendant the right to appeal the
       conviction and sentence imposed. By entering into this agreement, the
       defendant knowingly waives any right to appeal a sentence imposed which
       is within the guideline range determined appropriate by the court. The
       defendant also waives any right to challenge a sentence or otherwise
       attempt to modify or change his sentence or manner in which it was
       determined in any collateral attack, including, but not limited to, a motion
       brought under Title 28, U.S.C. § 2255 [except as limited by United States
       v. Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001)], a motion brought
       under Title 18, U.S.C. § 3582(c)(2) and a motion brought under Fed. R.
       Civ. Pro [sic] 60(b). In other words, the defendant waives the right to
       appeal the sentence imposed in this case except to the extent, if any, the
       court departs upwards from the applicable sentencing guideline range
       determined by the court. However, if the United States exercises its right
       to appeal the sentence imposed as authorized by Title 18, U.S.C. §
       3742(b), the defendant is released from this waiver and may appeal the
       sentence received as authorized by Title 18, U.S.C. § 3742(a).
       Notwithstanding the forgoing [sic] waivers, the parties understand that the
       defendant in no way waives any subsequent claims with regards to
       ineffective assistance of counsel or prosecutorial misconduct.

(First set of brackets in original.) The plea agreement also concluded with the following

provision:

              16.    No Other Agreements. The defendant has had sufficient
       time to discuss this case, the evidence, and this agreement with the
       defendant’s attorney and defendant is fully satisfied with the advice and

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       representation provided by defendant’s counsel. Further, the defendant
       acknowledges that he has read the plea agreement, understands it and
       agrees it is true and accurate and not the result of any threats, duress or
       coercion. The defendant further understands that this plea agreement
       supersedes any and all other agreements or negotiations between the
       parties, and that this agreement embodies each and every term of the
       agreement between the parties. The defendant acknowledges that the
       defendant is entering into this agreement and is pleading guilty because
       the defendant is guilty and is doing so freely and voluntarily.

       Defendant also stated in her plea petition that she offered her plea freely and

voluntarily. She further stated that no Government agent had promised, suggested, or

predicted a lighter sentence or any other form of leniency, except that her attorney had

discussed the application of the sentencing guidelines with her; and that she understood

that her sentence was solely a matter within the Court’s control. Defendant stated in the

petition that she was satisfied with the advice and assistance of her attorney. In his own

certification, defendant’s attorney stated that he had made no promises or predictions

concerning defendant’s sentence, other than to discuss the application of the guidelines

with her.

       The Court confirmed the voluntariness of the plea in its colloquy with defendant

at the plea hearing. In particular, in that colloquy, defendant stated under oath that she

understood the process and the Court’s questions; that she understood that there was no

guarantee that she would receive a better sentence by pleading guilty; that she had been

able to work with her attorneys, that she had discussed her sentence and the application

of the guidelines with them, and that she was satisfied with their representation and

advice; that she understood that her sentence was a matter for the Court to decide under

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the guidelines, and in consideration of relevant conduct; that she was waiving any right

to appeal or to collaterally attack a sentence within the applicable guideline range; that

no one had coerced her or made any promise or inducement to procure her plea; that it

was her decision to plead, and not her attorney’s decision; and that she was entering a

plea of guilty freely and voluntarily and because she was in fact guilty of the charge.

During this colloquy, defendant did not simply and unthinkingly respond “Yes” to every

question; rather, she indicated when she did not understand a particular question, and the

Court then repeated and restated that question until defendant understood it. For

instance, after she stated that she did not understand, the Court reiterated that the final

determination of her sentence would be by the Court, and defendant then indicated that

she understood and agreed. When the Court asked whether she understood that she was

waiving the right to appeal if the Court imposed a sentence within the applicable

guideline range, defendant’s attorney interjected to explain that that meant if the

sentence was within the range he had discussed with defendant. The Court then

corrected the attorney and explained that the Court would decide the applicable range,

and defendant then stated that she understood that waiver. At the conclusion of the

colloquy, based on its observation of defendant and her responses, the Court found that

defendant’s plea was knowing and voluntary.

       On September 1, 2011, the Court imposed a sentence of imprisonment for a term

of 108 months. The Court found that over 3,000 kilograms of marijuana could be

attributed to defendant for her relevant conduct in being involved in the overall drug-

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trafficking conspiracy with which she was originally charged. The Court declined to

apply a two-level enhancement for obstruction of justice relating to defendant’s

execution of a quitclaim deed for property subject to forfeiture, and it reduced

defendant’s offense level to account for defendant’s role as a minor participant and her

acceptance of responsibility. The Court thus determined a total offense level of 31 and

a criminal history category of I, resulting in an applicable guideline range of 108 to 135

months. The Court then chose the low end of that range for defendant’s sentence.

       Defendant did not file a direct appeal of her conviction or sentence. On June 25,

2012, defendant filed her pro se petition pursuant to Section 2255. By the petition,

defendant assert three claims: (1) that she was denied the effective assistance of counsel,

in that her counsel “abandoned her case,” did not meet with her, and indicated that it was

in her best interest to plead guilty because she faced 20 or more years in prison and the

Government had no interest in her serving a sentence; (2) that her plea was not knowing

and voluntary, in the sense that counsel had indicated that the prosecutor did not want

to see her face jail time and that her involvement was such that jail time was not

necessary; and (3) that her arrest was based on an unconstitutional search and seizure.

In response, the Government has moved for enforcement of the waiver in defendant’s

plea agreement.



       II.    Analysis

       Section 2255 entitles a prisoner to relief “[i]f the court finds that the judgment

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was rendered without jurisdiction, or that the sentence imposed was not authorized by

law or otherwise open to collateral attack, or that there has been such a denial or

infringement of the constitutional rights of the prisoner as to render the judgment

vulnerable to collateral attack.” See 28 U.S.C. § 2255(b). The Court, however, will hold

a defendant and the Government to the terms of a lawful plea agreement. See United

States v. Arevalo-Jimenez, 372 F.3d 1204, 1207 (10th Cir. 2004); United States v.

Atterberry, 144 F.3d 1299, 1300 (10th Cir. 1998). Thus, a knowing and voluntary

waiver of Section 2255 rights in a plea agreement is generally enforceable. See United

States v. Cockerham, 237 F.3d 1179, 1181 (10th Cir. 2001). The Tenth Circuit has

adopted a three-pronged analysis for evaluating the enforceability of such a waiver, by

which the district court must determine the following: (1) whether the disputed issue

falls within the scope of the waiver; (2) whether the defendant knowingly and voluntarily

waived the rights; and (3) whether enforcing the waiver would result in a miscarriage of

justice. See United States v. Hahn, 359 F.3d 1315, 1325 (10th Cir. 2004) (en banc) (per

curiam). The Court concludes that such analysis mandates that defendant’s waiver be

upheld and enforced in this case.

       First, defendant clearly waived her right to bring any claim other than her claim

that her plea was not voluntary because it was based on statements by counsel that she

would not have to serve time in prison. The waiver contained in defendant’s plea

agreement provided that defendant could appeal only if the Court varied upward from

the applicable sentencing guideline range or if the Government filed its own appeal, but

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neither of those contingencies occurred in this case. The plea agreement also recognized

that, under United States v. Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001), defendant

did not waive the right to bring a Section 2255 claim for ineffective assistance of counsel

specifically challenging the validity of the plea or the waiver. Thus, any other claim falls

within the scope of the waiver. In her reply, defendant concedes that her claim of an

illegal search falls within the scope of the waiver.

       The Court therefore considers defendant’s primary claim that her plea was not

voluntary, and it concludes that defendant did knowingly and voluntarily waive her

rights. In assessing the voluntariness of a defendant’s waiver, the Court looks primarily

to two factors—whether the language of the plea agreement stated that the defendant

entered the plea agreement knowingly and voluntarily and whether there was an

adequate Rule 11 colloquy. See United States v. Smith, 500 F.3d 1206, 1210-11 (10th

Cir. 2007). As set forth above, both factors were present here. Defendant alleges that

her plea was not voluntary because it was based on an understanding that she would

serve little or no time in prison. In addition, in an unsworn letter attached to her unsworn

reply brief, defendant states that she answered in the affirmative during the plea colloquy

because she was embarrassed that she did not understand everything. As noted above,

however, defendant did not simply agree with every statement by the Court, but instead

indicated when she did not understand. On those occasions, the Court made sure that she

did understand, and defendant then answered each time that she understood and agreed,

including with respect to questions confirming that no one had promised her any

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particular sentence and that the Court would determine the applicable sentencing

guideline range without regard to any agreement reached with the Government.

Defendant then stated that she entered her plea knowingly and voluntarily, and the Court

found that her plea was in fact knowing and voluntary. Based on that colloquy and the

plea agreement, the Court rejects defendant’s claim that her plea was not knowing and

voluntary.

       With respect to the third prong of the applicable analysis, enforcement of a waiver

results in a miscarriage of justice only if (1) the district court relied on an impermissible

factor such as race, (2) the defendant received ineffective assistance of counsel in

conjunction with the negotiation of the waiver, (3) the sentence exceeds the statutory

maximum, or (4) the waiver is otherwise unlawful in the sense that it suffers from error

that seriously affects the fairness, integrity, or public reputation of judicial proceedings.

See Hahn, 359 F.3d at 1327. Defendant’s petition and reply brief suggest that she

believes that she was misled by her counsel’s predictions concerning the expected length

of her sentence. Such an allegation does not state a claim for ineffective assistance of

counsel under the Sixth Amendment. As the Tenth Circuit has held, “[a] miscalculation

or erroneous sentence estimation by defense counsel is not a constitutionally deficient

performance rising to the level of ineffective assistance of counsel.” United States v.

Gordon, 4 F.3d 1567, 1570-71 (10th Cir. 1993); see also Fields v. Gibson, 277 F.3d

1203, 1214 (10th Cir. 2002) (“An erroneous sentence estimate by defense counsel does

not render a plea involuntary. And a defendant’s erroneous expectation, based on his

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attorney’s erroneous estimate, likewise does not render a plea involuntary.”) (quoting

Wellnitz v. Page, 420 F.2d 935, 936-37 (10th Cir. 1970)). Accordingly, the Court rejects

defendant’s claim for ineffective assistance of counsel, and it concludes that enforcement

of defendant’s waiver of any right to collaterally attack her sentence would not result in

a miscarriage of justice.

       For these reasons, the Government’s motion for enforcement of defendant’s

waiver is granted, and defendant’s Section 2255 petition is therefore dismissed.1



       III.   Certificate of Appealability

       Effective December 1, 2009, Rule 11 of the Rules Governing Section 2255

Proceedings states that the Court must issue or deny a certificate of appealability when

it enters a final order adverse to the applicant. “A certificate of appealability may issue

. . . only if the applicant has made a substantial showing of the denial of a constitutional

right.” 28 U.S.C. § 2253(c)(2).2 To satisfy this standard, the petitioner must demonstrate

that “reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.” See Saiz v. Ortiz, 393 F.3d 1166, 1171 n.3 (10th Cir. 2004)



       1
        Because the motion and records of this case conclusively show that defendant is
not entitled to relief, the Court need not conduct a hearing on this matter. See 28 U.S.C.
§ 2255(b).
       2
        The denial of a Section 2255 petition is not appealable unless a circuit justice or
a circuit or district judge issues a certificate of appealability. See Fed. R. App. P.
22(b)(1); 28 U.S.C. § 2253(c)(1).

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(quoting Tennard v. Dretke, 542 U.S. 274, 282 (2004)). For the reasons stated above,

defendant has not made a substantial showing of the denial of a constitutional right; the

Court therefore denies a certificate of appealability.



       IT IS THEREFORE ORDERED BY THE COURT that the Government’s

motion to enforce defendant’s plea agreement (Doc. # 1516) is granted, and defendant’s

motion to vacate her sentence pursuant to 28 U.S.C. § 2255 (Doc. # 1510) is therefore

dismissed.


       IT IS SO ORDERED.


       Dated this 23rd day of October, 2012, in Kansas City, Kansas.


                                                  s/ John W. Lungstrum
                                                  John W. Lungstrum
                                                  United States District Judge




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